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DEREK SMITH LAW GROUP, PLLC
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Attorneys for Plaintiff

                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


NATHAN IVERSON,

                   Plaintiff,
                                                      Civil Action No. 3:21-cv-13335-MWB
          v.

KANIA REAL ESTATE HOLDINGS, LLC,
individually and d/b/a COMFORT INN AT TOMS
RIVER, et al.,

                   Defendants.                        	  




           WITHDRAWAL OF APPEARANCE/SUBSTITUTION OF COUNSEL

TO THE CLERK:

       Kindly withdraw my appearance as counsel for Plaintiff, Nathan Iverson. Please

substitute my appearance with Samuel Wilson, Esquire, who previously entered his appearance

as counsel of record for Plaintiff.

                                           DEREK SMITH LAW GROUP, PLLC
                                           /s/ Susan Keesler__________________
                                           Susan Keesler, Esq.
                                           susan@dereksmithlaw.com
Dated: May 3, 2022                         Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

       I, Susan Keesler, Esquire, hereby certify that on this date, I caused a true and correct copy

of Appearance/Substitution of Counsel to be filed and served on all counsel of record via the

Court’s ECF system.



                                             DEREK SMITH LAW GROUP, PLLC

                                             /s/ Susan Keesler, Esquire___
                                             SUSAN KEESLER, ESQUIRE
Dated: May 3, 2022                           Attorneys for Plaintiff
